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At this point, Defendants believe the appropriate course is to wait to conduct the deposition of VMS until
after the pending discovery motions have been heard and decided. Where a motion for protective order is
pending regarding the conduct of a deposition, a party is within its rights to refuse to sit for the
deposition until the motion has been decided. See Fed. R. Civ. P. 37(d)(2); Trident Atlanta, LLC v. Charlie
Graingers Franchising, LLC, 2019 WL 3162428, at *1 (E.D.N.C. July 15, 2019) (rejecting argument that
only an order on a motion for protective order excuses a non-appearance because “the Federal Rules
require only that the motion be pending for the noticed party’s absence to be excused”). Here, Defendants
have filed a number of motions for protective order, over the scope and privilege issues generally as well
as the deposition of VMS specifically. As such, this correspondence is to notify you that, pursuant to Fed.
R. Civ. P. 37(d)(2), VMS does not intend to attend the noticed deposition on June 8th. Accordingly, we
assume you will not proceed on Thursday and VMS does not need to appear on that date.

Best regards,

John Branch




JOH N E. BR ANC H I II PAR TNER
j o h n . br a n c h@ ne l s o nm u l l i n s . c om

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N EL SONM UL LI NS.C OM                   VCA RD VI EW B I O




From: Herbert, Ian <iherbert@milchev.com>
Sent: Monday, May 15, 2023 11:50 AM
To: Brandon Neuman <brandon.neuman@nelsonmullins.com>; John Branch <john.branch@nelsonmullins.com>; Sam
Rosenthal <sam.rosenthal@nelsonmullins.com>; Jeff Kelly <jeff.kelly@nelsonmullins.com>; Nate Pencook
<nate.pencook@nelsonmullins.com>
Cc: Behre, Kirby <kbehre@milchev.com>; Jones, Christopher <Chris.Jones@wbd-us.com>; Rand, Ripley
<Ripley.Rand@wbd-us.com>
Subject: RE: Azima v. Del Rosso: Vital Deposition

◄External Email► - From: iherbert@milchev.com

Brandon,

Please see the attached revised notice.

Regards,
Ian



IAN A. HERBERT
Counsel | he/him/his | Miller & Chevalier Chartered


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iherbert@milchev.com | 202.626.1496

From: Herbert, Ian
Sent: Friday, May 12, 2023 4:30 PM
To: Brandon Neuman <brandon.neuman@nelsonmullins.com>; 'John Branch' <john.branch@nelsonmullins.com>
Cc: Behre, Kirby <kbehre@milchev.com>; 'Jones, Christopher' <Chris.Jones@wbd-us.com>; Rand, Ripley
<Ripley.Rand@wbd-us.com>
Subject: Azima v. Del Rosso: Vital Deposition

Brandon,

We noticed the upcoming deposition of Vital in January and since then Defendants have attempted to block the
deposition repeatedly: through meritless objections, a motion for protective order, and a motion to stay all
discovery. We believe these motions are bad-faith attempts to continue to block all discovery in this case. You have
made it clear that you do not intend to properly prepare Mr. Del Rosso to serve as a corporate representative for Vital
and intend to improperly block relevant lines of questioning, as you did during Mr. Del Rosso’s personal
deposition. Please confirm that you have prepared your client regarding all topics in the notice of deposition and your
client will respond substantively to our questions. Otherwise, we consider your position to be that Mr. Del Rosso will
not sit for the deposition on Tuesday. Given the antics regarding the last deposition, if that is your position, we intend to
re-notice the deposition for June 8.

We also note that we have repeatedly asked for assurances that Mr. Del Rosso’s health has not deteriorated. Mr. Del
Rosso has a terminal illness and you have represented repeatedly that he is the only person who can serve as a
corporate representative. Please provide an update on the status of his health by Monday. In addition, we expect that
if his health deteriorates in any way, you will let us and the court know immediately so that steps can be taken to
preserve Vital’s testimony. If evidence is lost because of your failure to ensure that evidence is properly preserved, we
will seek all available remedies including sanctions and adverse inferences.

Regards,
Ian


IAN A. HERBERT
Counsel | he/him/his | Miller & Chevalier Chartered
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